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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

YIFAN SHEN, ZHIMING XU, XINXI
WANG, YONGXIN LIU, and MULTI-
CHOICE REALTY, LLC,
             Plaintiffs,
v.
WILTON SIMPSON, in his official
capacity as Florida Commissioner of                Case No. 4:23-cv-208
Agriculture, MEREDITH IVEY, in her
official capacity as Acting Florida
Secretary of Economic Opportunity,
PATRICIA FITZGERALD, in her
official capacity as Chair of the Florida
Real Estate Commission,
              Defendants.


                                   COMPLAINT

                              I. INTRODUCTION

      1.     This lawsuit challenges a new Florida law, SB 264, that imposes

discriminatory prohibitions on the ownership and purchase of real property based

on race, ethnicity, alienage, and national origin—and imposes especially draconian

restrictions on people from China. See Laws of Fla. ch. 2023-33, §§ 3–8, at 5–15

(CS for CS for SB 264) (to be codified at Fla. Stat. §§ 692.201–.205). Plaintiffs—

four individual Chinese citizens who reside in Florida, and a real estate brokerage

firm that principally serves Chinese and Chinese American clients—are subject to


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the law’s restrictions and its broad effects. They will be forced to cancel purchases

of new homes, register their existing properties with the State under threat of

severe penalties, and face the loss of significant business. The law stigmatizes

them and their communities, and casts a cloud of suspicion over anyone of Chinese

descent who seeks to buy property in Florida.

      2.     Under this discriminatory new law, people who are not U.S. citizens

or permanent residents, and whose “domicile” is in China, will be prohibited from

purchasing property in Florida. A similar but less restrictive rule will apply to

people whose permanent home is in Cuba, Venezuela, or other “countries of

concern.” The sole exception to these prohibitions is incredibly narrow: people

with non-tourist visas or who have been granted asylum may purchase one

residential property under two acres that is not within five miles of any military

installation in the state. Notably, there are more than a dozen military installations

in Florida, many of them within five miles of city centers like Orlando, Tampa,

Jacksonville, Pensacola, Panama City, and Key West. Florida’s new law will also

impose requirements on people from China and other “foreign countries of

concern” to register properties they currently own, at the risk of civil penalties and

civil forfeiture. People who own or acquire property in violation of the law are

subject to criminal charges, imprisonment, and fines.

      3.     This law is unconstitutional. It violates the equal protection and due



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process guarantees under the U.S. Constitution; it intrudes on the federal

government’s power to superintend foreign affairs, foreign investment, and

national security; and it recalls the wrongful animus of similar state laws from

decades past—laws that were eventually struck down by courts or repealed by

legislatures.

      4.        In May 1882, more than one hundred and forty years ago, the United

States passed the Chinese Exclusion Act, banning all Chinese laborers from

immigrating to the country for ten years. The primary reasons for the law’s

enactment included unwanted ethnic economic competition and the racialized

theory that Chinese people were unassimilable pagans. It was the first and only

major U.S. law ever implemented to prevent all members of a specific racial group

from immigrating to the United States. The law remained in force until 1943, when

China became a wartime ally of the United States against Japan.

      5.        In May 1913, one hundred and ten years ago, California enacted the

“Alien Land Law,” barring Asian immigrants from owning land. More than a

dozen states, including Florida, followed suit, adopting similar Alien Land Laws

restricting Asians’ rights to hold land in America. The purpose was to discourage

and prevent “non-desirable” Asian immigrants from settling permanently in the

United States and its territories.

      6.        In 1948, the U.S. Supreme Court held that the 14th Amendment rights



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of Fred Oyama, a U.S. citizen and the son of Japanese immigrants, had been

violated when the State of California moved to repossess land purchased by

Oyama’s non-citizen father in Oyama’s name while the family was incarcerated in

an internment camp. Oyama v. California, 332 U.S. 633 (1948).

      7.     As a result of the Oyama decision and other developments in equal

protection case law, most of the country’s Alien Land Laws were repealed or

struck down in the 1950s. However, Florida’s state constitution was the last to

contain an alien land law provision until 2018, when voters passed a ballot

measure to repeal it.

      8.     Through this action, Plaintiffs seek a declaratory judgment that

Florida’s new discriminatory property law (hereinafter, “Florida’s New Alien Land

Law”) violates the U.S. Constitution and federal statutory law, and an injunction to

stop the enforcement of the law against Plaintiffs.

                                 II. PARTIES

      9.     Plaintiff Yifan Shen is an individual and natural person, as well as a

citizen of the People’s Republic of China, lawfully residing in Florida.

      10.    Plaintiff Zhiming Xu is an individual and natural person, as well as a

citizen of the People’s Republic of China, lawfully residing in Florida.

      11.    Plaintiff Xinxi Wang is an individual and natural person, as well as a

citizen of the People’s Republic of China, lawfully residing in Florida.



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        12.    Plaintiff Yongxin Liu is an individual and natural person, as well as a

citizen of the People’s Republic of China, lawfully residing in Florida.

        13.    Plaintiff Multi-Choice Realty, LLC is a limited liability corporation

organized under Florida law, with its principal place of business in Florida.

        14.    Defendant Wilton Simpson is the Florida Commissioner of

Agriculture and heads the Florida Department of Agriculture and Consumer

Services (“FDACS”). Fla. Stat. §§ 20.14(1), 570.01. FDACS is one of the agencies

charged with implementing and enforcing Florida’s New Alien Land Law. Id.

§ 692.202(3)(a), (6)(b), (9).1

        15.    Defendant Meredith Ivey is Acting Florida Secretary Economic

Opportunity and heads the Florida Department of Economic Opportunity (“DEO”).

Id. § 20.60(2). DEO is one of the agencies charged with implementing and

enforcing Florida’s New Alien Land Law. Id. §§ 692.203(3)(a), (10), .204(7)(b),

(10).

        16.    Defendant Patricia Fitzgerald is Chair of the Florida Real Estate

Commission (“FREC”). In that role, she may exercise all of FREC’s powers,

except disciplinary and rulemaking powers. Id. § 475.03. FREC is one of the

agencies charged with implementing Florida’s New Alien Land Law. Id.

§§ 692.202(5)(c), .203(6)(c), .204(6)(c).


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    Citations to the provisions of SB 264 are to the statutory sections where it is to be codified.

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                       III. JURISDICTION AND VENUE

      17.    This Court has subject-matter jurisdiction over this action pursuant to:

28 U.S.C. § 1331 because this action arises under the U.S. Constitution and federal

law; 28 U.S.C. § 1343 and 42 U.S.C. § 1983 because this action seeks to redress

the deprivation of and infringement upon, under color of state law, rights,

privileges, and immunities secured by the U.S. Constitution or federal law

providing for the equal rights of all persons within the jurisdiction of the United

States; and 42 U.S.C. § 3613 because this action is based upon a violation of the

Fair Housing Act, 42 U.S.C. § 3601 et seq., which prohibits discrimination in real

estate transactions.

      18.    There is an actual, present, justiciable controversy between the parties

within the meaning of Article III of the U.S. Constitution, as the recent enactment

of Florida’s New Alien Land Law constitutes a present and continuing

infringement of Plaintiffs’ federal constitutional and civil rights.

      19.    This Court has authority to grant declaratory relief in this action

pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, as well as

28 U.S.C. § 1343, 42 U.S.C. §§ 1983 and 3613, and Rule 57 of the Federal Rules

of Civil Procedure.

      20.    In addition, this Court has authority to grant injunctive relief in this

action under the All Writs Act, 28 U.S.C. § 1651, as well as 28 U.S.C. § 1343,



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42 U.S.C. §§ 1983 and 3613, and Rule 65 of the Federal Rules of Civil Procedure.

      21.    This Court has personal jurisdiction over Defendants, all of whom are

either elected or appointed Florida state officials, working or residing in Florida.

The Court’s exercise of jurisdiction over Defendants in their official capacities as

Florida state government officials is appropriate pursuant to Ex Parte Young, 209

U.S. 123 (1909).

      22.    Venue in this Court is proper pursuant to 28 U.S.C. § 1391 because

one or more defendants reside in the judicial district in which this Court is based

and a substantial part of the events or omissions giving rise to the claims herein

occurred in the judicial district in which this Court is based.

                        IV. STATEMENT OF FACTS

      A.     The Enactment of Florida’s Alien Land Law and Its Background

      23.    Florida’s New Alien Land Law was enacted as part of a larger law,

Senate Bill 264. This lawsuit raises claims with respect to the portions of SB 264

establishing prohibitions on landownership based on race, ethnicity, color,

alienage, and national origin, which are to be codified as Part III of Chapter 692 of

the Florida Statutes at Sections 692.201 through 692.205, formally titled,

“Conveyances to Foreign Entities.”

      24.    SB 264 and its companion measure, HB 1355, were introduced in the

Florida Senate and House on March 2, 2023. After several amendments in both



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chambers, the Legislature passed SB 264 on May 4, 2023.

      25.    On May 8, SB 264 was presented in its final form to Governor Ron

DeSantis. Within hours, Governor DeSantis signed it into law, along with two

other pieces of legislation, SB 258 and SB 846, all of which are focused on

restricting the rights of Chinese people based on race, ethnicity, color, alienage,

and national origin. Laws of Fla. chs. 2023-32 (CS for CS for SB 258), 2023-34

(CS for CS for SB 846). According to Governor DeSantis, all three bills are

purportedly meant to “counteract the malign influence of the Chinese Communist

Party in the state of Florida.”2

      26.    That same day, Governor DeSantis held a press conference titled

“Stop CCP Influence.” At the press conference, Governor DeSantis stated:

             Florida is taking action to stand against the United States’
             greatest geopolitical threat—the Chinese Communist
             Party. I’m proud to sign this legislation to stop the
             purchase of our farmland and land near our military bases
             and critical infrastructure by Chinese agents, to stop
             sensitive digital data from being stored in China, and to
             stop CCP influence in our education system from grade
             school to grad school. We are following through on our
             commitment to crack down on Communist China.3

      27.    Despite the rhetoric, in 2022, Chinese buyers were involved in only

0.1 percent of all real estate purchases in Florida—they purchased only one out of


2
    Press Release, Governor Ron DeSantis Cracks Down on Communist China (May 8, 2023),
https://www.flgov.com/2023/05/08/governor-ron-desantis-cracks-down-on-communist-china/.
3
    Id.

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every 1,000 residential properties sold in the state. Chinese buyers did not even

crack the top-ten list of foreign buyers by country in 2022, with Chinese buyers

constituting no more than two percent of all foreign buyers.4

       28.    At his press conference, Governor DeSantis presented no evidence

that Chinese buyers of property in Florida are agents of the Chinese Communist

Party or have caused harm to national security. Indeed, the State of Florida has

failed to identify any nexus between real estate ownership by Chinese citizens in

general and purported harm to national security.

       29.    Florida’s New Alien Land Law severely restricts ownership of real

estate by Chinese buyers. Not only are there strict prohibitions regarding foreign

ownership and purchases of agricultural land and real property within ten miles of

a military installation or critical infrastructure facility, but the new law goes so far

as to categorically ban Chinese people from owning and acquiring any kind of real

property in Florida, with only narrow exceptions.

       30.    The new landownership restrictions will take effect in Florida on

July 1, 2023. Laws of Fla. ch. 2023-33 § 12, at 18.



4
    Florida Realtors, 2022 Profile of International Residential Transactions in Florida at 6–8,
https://www.floridarealtors.org/sites/default/files/basic-page/attachments/2023-
04/2022%20Profile%20of%20International%20Residential%20Transactions%20in%20Florida.p
df (last accessed May 22, 2023). In 2022, the largest share of foreign buyers in Florida were
buyers from Latin America and the Caribbean (45 percent), followed by buyers from North
America (21 percent), Europe (18 percent), Asia and Oceania (7 percent), and Africa (1 percent).
Id. at 7.

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      B.     The Statutory Scheme for Implementing and Enforcing Florida’s
             New Alien Land Law

      31.    Florida’s New Alien Land Law establishes, inter alia, prohibitions on

landownership in the state based on race, ethnicity, color, alienage, and national

origin.

      32.    There are two main categories of landownership prohibitions under

Florida’s New Alien Land Law. The first category applies to certain people from

“foreign countries of concern,” including China, and prohibits them from owning

or acquiring any agricultural land and real property within ten miles of a military

installation or critical infrastructure facility, subject to narrow exceptions. The

second category of prohibitions is even more restrictive: it applies specifically to

certain people from China, singling them out based on race, ethnicity, color,

alienage, and national origin and prohibiting them from owning or acquiring any

real property in the State of Florida, subject to narrow exceptions.

               i.   Provisions Targeting “Foreign Principals” from Seven
                    Specific “Foreign Countries of Concern”

      33.    Sections 692.202 and 692.203 of the Florida Statutes prohibit “foreign

principals” from specific “foreign countries of concern” from acquiring certain

kinds of land in the State of Florida. Specifically, the prohibitions extend to two

kinds of land: (i) agricultural land, Fla. Stat. § 692.202(1), and (ii) real property on

or within ten miles of any military installation or critical infrastructure facility, Id.



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§ 692.203(1).

       34.     However, “critical infrastructure facility”5 and “military installation”6

are so broadly defined under Florida’s New Alien Land Law that they bar affected

individuals from being able to purchase property across much of the state.

       35.     With respect to real estate in both contexts, the law defines the term

“foreign country of concern” as: “the People’s Republic of China, the Russian

Federation, the Islamic Republic of Iran, the Democratic People’s Republic of

Korea, the Republic of Cuba, the Venezuelan regime of Nicolas Maduro, or the

Syrian Arab Republic, including any agency of or any other entity of significant

control of such foreign country of concern.” Id. § 692.201(3).

       36.     For each “foreign country of concern,” the law prohibits certain

persons, called “foreign principals,” from landownership. The term “foreign

principal” includes “[a]ny person who is domiciled in a foreign country of concern

and is not a citizen or lawful permanent resident of the United States,” Id.

§ 692.201(4)(d), and “[a] partnership, association, corporation, organization, or

5
     “Critical infrastructure facility” is defined as “any of the following, if it employs measures
such as fences, barriers, or guard posts that are designed to exclude unauthorized persons: (a) A
chemical manufacturing facility[;] (b) A refinery[;] (c) An electrical power plant as defined in s.
403.031(2)[;] (d) A water treatment facility or waste water treatment plant[;] (e) A liquid natural
gas terminal[;] (f) A telecommunications central switching office[;] (g) A gas processing plant,
including a plant used in the processing, treatment, or fractionation of natural gas[;] (h) A seaport
as listed in s. 311.09[;] (i) A space port territory defined in s. 331.303(18)[;] (j) An airport as
defined in s. 333.01.” Fla. Stat. § 692.201(2).
6
    “Military installation” is defined as “a base, camp, post, station, yard, or center encompassing
at least 10 contiguous acres that is under the jurisdiction of the Department of Defense or its
affiliates.” Fla. Stat. § 692.201(5).

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other combination of persons organized under the laws of or having its principal

place of business in a foreign country of concern, or a subsidiary of such entity,”

Id. § 692.201(4)(c).

      37.    Florida’s New Alien Land Law prohibits “foreign principals” from

each “foreign country of concern” from “directly or indirectly own[ing], having a

controlling interest in, acquir[ing] by purchase, grant, devise, or descent” any

agricultural land or real property within ten miles of any military installation or

critical infrastructure facility, or any interest therein, “except a de minimus [sic]

indirect interest.” Id. §§ 692.202(1), .203(1). The law requires FDACS to adopt

rules implementing its provisions regulating agricultural land, id. § 692.202(9), and

requires DEO to adopt rules implementing the provisions of the law regulating real

property on or within ten miles of any military installation or critical infrastructure

facility, id. § 692.202(10).

      38.    Exceptions to Florida’s New Alien Land Law are limited.

      39.    Although “foreign principals” may continue to own property subject

to the law’s restrictions if they acquired it before July 1, 2023, they are prohibited

from purchasing any additional agricultural land or real property within ten miles

of a military installation or critical infrastructure facility. Id. §§ 692.202(2),

.203(2).

      40.    Further, “foreign principals” who owned such property before July 1,



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2023, must register their properties. Agricultural property holdings must be

registered with FDACS, id. § 692.202(3)(a), and real property on or within ten

miles of any military installation or critical infrastructure facility must be

registered with DEO, id. § 692.203(3)(a). Failure to file a timely registration is

subject to a civil penalty of $1,000 for each day the registration is late and may

result in a lien being placed on the real property for unpaid penalties. Id.

§§ 692.202(3)(b), .203(3)(b).

      41.    Under Florida’s New Alien Land Law, if a “foreign principal”

acquires agricultural land or real property within ten miles of a military installation

or critical infrastructure facility on or after July 1, 2023, by devise or descent,

through the enforcement of security interests, or through the collection of debts,

the “foreign principal” must sell, transfer, or otherwise divest itself of such land

within three years after acquiring the property. Id. §§ 692.202(4), .203(5).

      42.    Beyond this, the new law contains only a narrow exception allowing a

“foreign principal” who is a natural person with a valid non-tourist visa or who has

been granted asylum to purchase one residential real property—and only if the

property is less than two acres and is not within five miles of a military installation.

Id. § 692.203(4). There is no exception for purchases of agricultural land.

      43.    “Foreign principals” owning or acquiring property in violation of the

foregoing prohibitions are subject to civil forfeiture of their property. Id.



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§§ 692.202(6)(a), .203(7)(a). Under the new law, FDACS is the state agency

authorized to initiate a civil action for the forfeiture of agricultural land, id.

§ 692.202(6)(b), and DEO is authorized to initiate a civil action for the forfeiture

of real property on or within ten miles of any military installation or critical

infrastructure facility, id. § 692.203(7)(b).

      44.    The law also creates criminal penalties for “foreign principals” who

purchase or acquire agricultural land or real property on or within ten miles of any

military installation or critical infrastructure facility in violation of the foregoing

prohibitions. Such a violation constitutes a second-degree misdemeanor. Id.

§§ 692.202(7), .203(8).

      45.    Likewise, a person who knowingly sells these prohibited kinds of real

property or interests therein to “foreign principals” in violation of the new

prohibitions commits a second-degree misdemeanor. Id. §§ 692.202(8), .203(9).

      46.    Second-degree misdemeanors are punishable by up to 60 days’

imprisonment and a fine of $500. Id. §§ 775.082(4)(b), .083(1)(e).

      47.    Finally, the law also imposes new requirements on all buyers within

the state. At the time of purchase, buyers of agricultural land or real property on or

within ten miles of any military installation of critical infrastructure facility are

now required to provide an affidavit signed under penalty of perjury attesting, inter

alia, that the buyer is not a “foreign principal” from a prohibited “foreign country



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of concern.” Id. §§ 692.202(5)(a), .203(6)(a). The law delegates the responsibility

for adopting rules to implement this provision to FREC, including rules

establishing the form for the affidavit. Id. §§ 692.202(5)(c), .203(6)(c).

              ii.   Provisions Targeting Chinese Persons Based on Their Race,
                    Ethnicity, Color, Alienage, and National Origin

      48.    While sections 692.202 and 692.203 prohibit persons from multiple

countries, including China, from owning and acquiring certain lands, section

692.204 singles out people from China and imposes even more restrictive

limitations on their ownership and acquisition of real property in Florida.

Glaringly, section 692.204 imposes significantly harsher criminal punishments do

692.202 and 692.203.

      49.    The central feature of the new law is that it broadly prohibits Chinese

persons from purchasing or acquiring any real property, or interests in real

property, within Florida based on their race, ethnicity, color, alienage, and national

origin. See Fla. Stat. §§ 692.201(6) (defining real property as “land, buildings,

fixtures, and all other improvements to land”), .204(1)(a) (imposing a categorical

prohibition regarding “real property in this state”).

      50.    In addition, section 692.204 imposes harsh criminal sanctions on

Chinese people who purchase properties in violations of the law—sanctions that

are much harsher than those imposed on violators of sections 692.202 and 692.203.

      51.    The prohibition applies to any “[a]ny person who is domiciled in the


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People’s Republic of China and who is not a citizen or lawful permanent resident

of the United States.” Id. § 692.204(1)(a)(4). Under the new law, DEO is

responsible for adopting rules to implement this prohibition. Id. § 692.204(10).

      52.    Like sections 692.202 and 692.203, section 692.204 prohibits these

Chinese persons from directly or indirectly owning or having any controlling

interest in any real property within the state, “except for a de minimus [sic] indirect

interest.” Id. § 692.204(1)(a).

      53.    Section 692.204’s other provisions—those relating to exceptions to

the new law, civil forfeiture proceedings, registration requirements, civil penalties,

criminal sanctions, and purchaser disclosure requirements—all mirror those of

sections 692.202 and 692.203. The only relevant difference is that the criminal

penalties for violating section 692.204 are much more severe than for violating

692.202 and 692.203.

      54.    Violations of the new law by Chinese persons is a third-degree felony,

id. § 692.204(8), punishable by up to five years’ imprisonment and a fine of up to

$5,000, id. §§ 775.082(3)(e), .083(1)(c).

      55.    The sale of real property to a Chinese person in violation of the new

law constitutes a first-degree misdemeanor, id. § 692.204(9), punishable by up to

one year imprisonment and a fine of $1,000, id. §§ 775.082(4)(a), .083(1)(d).




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       C.     The Impact of Florida’s New Alien Land Law and the Harm It Is
              Causing Chinese People in Florida

       56.    Plaintiffs in this action are people living in Florida and a Florida-

based real estate company who are currently suffering, or imminently will suffer,

the direct impact of Florida’s New Alien Land Law.

       57.    As detailed below, the individual plaintiffs in this case lawfully reside

in Florida but may be considered domiciled in China due to their nonimmigrant

visa status under U.S. immigration law.

       58.    The term “domicile” is not defined in Florida’s New Alien Land Law,

but the term typically refers to a person’s true, principal, and permanent home. The

nature of a nonimmigrant visa, however, is a temporary one and not intended to be

a mechanism by which a foreign citizen establishes permanent residency in the

United States.7

       59.    Thus, Plaintiffs, by virtue of having nonimmigrant visas, cannot be

said to have established permanent residency in the United States, and therefore it

is substantially likely that the State of Florida will deem them to be domiciled in

their country of origin, China.



7
    The U.S. Department of Homeland Security states: “A nonimmigrant visa (NIV) is issued to
a person with permanent residence outside the United States but wishes to be in the United States
on a temporary basis for tourism, medical treatment, business, temporary work, or study, as
examples.” U.S. Customs and Border Protection, What is the Difference Between an Immigrant
Visa vs. Nonimmigrant Visa?, https://help.cbp.gov/s/article/Article-72 (last accessed May 22,
2023).

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      60.    Plaintiff Yifan Shen is neither a citizen nor a permanent resident of

the United States but has permission to stay and live in the United States as the

holder of a valid H-1B visa, which is a nonimmigrant worker visa. Ms. Shen has

lived in the United States for seven years and has lived in Florida for the past four

years. She is not a member of the Chinese government or of the Chinese

Communist Party. She has a master’s degree in science and is working as a

registered dietitian in Florida. In April 2023, Ms. Shen signed a contract to buy a

single-family home in Orlando to serve as her primary residence. The property,

which is a new construction, appears to be located within ten miles of a critical

infrastructure facility and within five miles of a military installation. The estimated

closing date for Ms. Shen’s new property is in December 2023. Because

Ms. Shen’s closing date is after July 1, 2023, Florida’s New Alien Land Law will

prevent Ms. Shen from acquiring her new home, specifically, by forcing her to

cancel the contract for the purchase and construction of her new property. Fla Stat.

§§ 692.203(1), .204(1). Ms. Shen stands to lose all or part of her $25,000 deposit if

the law goes into effect and she is forced to cancel the real estate contract.

      61.    Plaintiff Zhiming Xu is neither a citizen nor a permanent resident of

the United States but has temporary permission to stay and live in the United States

as a political asylee. Prior to coming to the United States, Mr. Xu was persecuted

by the Chinese government and had to flee to the United States, where he has



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applied for political asylum. He is not a member of the Chinese government or of

the Chinese Communist Party. He has a bachelor’s degree and is managing and

repairing short-term rental properties in Florida. Mr. Xu has lived in the United

States and Florida for the past four years. In early 2023, Mr. Xu signed a contract

to buy a single-family home near Orlando. The property appears to be located

within ten miles of a critical infrastructure facility. The estimated closing date for

Mr. Xu’s property is in September 2023. Because Mr. Xu’s closing date is after

July 1, 2023, Florida’s New Alien Land Law will prevent Mr. Xu from acquiring

his new home—specifically, by forcing him to cancel the contract for the purchase

of his new property. Mr. Xu stands to lose all or part of his $31,250 deposit if the

law goes into effect and he is forced to cancel the real estate contract.

      62.    Plaintiff Xinxi Wang is neither a citizen nor a permanent resident of

the United States but has permission to stay and live in the United States as the

holder of a valid F-1 visa, which is a nonimmigrant visa for international students.

Ms. Wang has lived in the United States and in Florida for the past five years. She

is not a member of the Chinese government or of the Chinese Communist Party.

She is currently pursuing her Ph.D. degree in earth systems science at a Florida

university. Ms. Wang owns a home in Miami, which is her primary residence. Ms.

Wang is also devoted Christian who worships with a congregation in the Miami

area, about ten minutes from her home. As an owner of real property in Florida,



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Ms. Wang will be required to register her property with DEO under Florida’s New

Alien Land Law. Fla. Stat. § 692.204(4). In addition, because Ms. Wang’s property

appears to be located within ten miles of a critical infrastructure facility, Ms. Wang

is further subject to the law’s registration requirement. Id. § 692.203(3). This

registration requirement is burdensome, discriminatory, and stigmatizing to Ms.

Wang.

      63.    Plaintiff Yongxin Liu is neither a citizen nor a permanent resident of

the United States but has permission to stay and live in the United States as the

holder of a valid H-1B visa, which is a nonimmigrant worker visa. Mr. Liu has

lived in the United States for five years and in Florida for four years. He is not a

member of the Chinese government or of the Chinese Communist Party. He is an

assistant professor at a Florida university in the field of data science. He owns a

property close to Daytona Beach, which is his primary residence. As an owner of

real property in Florida, Mr. Liu will be required under Florida’s New Alien Land

Law to register his property with DEO. Fla. Stat. § 692.204(4). In addition,

because Mr. Liu’s property appears to be located within ten miles of a critical

infrastructure facility, Mr. Liu is further subject to the law’s registration

requirement. Id. § 692.203(3). This registration requirement is burdensome,

discriminatory, and stigmatizing to Mr. Liu.

      64.    Mr. Liu also has plans to purchase a second property in the vicinity of



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Pelican Bay, Florida, for his and his parents’ use as a vacation home. However,

Mr. Liu will be prohibited from purchasing a second property under the new law.

Id. § 692.204(1), (3). Furthermore, there is a substantial likelihood that the second

property would be within ten miles of a military installation or critical

infrastructure facility, resulting in an additional prohibition on the purchase under

the new law. Id. § 692.203(1), (2).

      65.    Due to Florida’s New Alien Land Law, Mr. Liu reasonably fears that

real estate agents will refuse to represent him because he is Chinese, that he will be

disadvantaged when bidding on property because he is Chinese, and that his search

for real estate will be more costly, time-consuming, and burdensome as a result.

See id. §§ 692.203(8), .204(9).

      66.    Plaintiff Multi-Choice Realty, LLC is a real estate brokerage firm that

primarily serves Chinese-speaking clients in the United States and China. Multi-

Choice Realty is not owned or controlled by the Chinese government or the

Chinese Communist Party. In 2022, Multi-Choice Realty was involved in 74

property acquisitions, the vast majority of which were for clients who were

Chinese or Chinese Americans. Most of Multi-Choice Realty’s existing customers

and potential customers will be directly impacted by Florida’s New Alien Land

Law by being required to register their properties and by being prohibited from

acquiring new properties. As a result, Multi-Choice Realty stands to lose more than



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one-third of its business due to Florida’s New Alien Land Law, which targets

Multi-Choice Realty’s customer base and prohibits much of its clientele from

engaging in further real estate purchases with Multi-Choice Realty.

      67.    The swathes of land now off-limits to Chinese persons under Florida’s

New Alien Land Law are extensive. The prohibitions on property purchases within

ten miles of a “critical infrastructure facility” or a “military installation”—both of

which are broadly and vaguely defined—will have the net effect of creating

“Chinese exclusion zones” that will cover immense portions of Florida, including

many of the state’s most densely populated and developed areas.

      68.    As a result of Florida’s New Alien Land Law, there is a substantial

likelihood that sellers of real estate will discriminate against Plaintiffs and other

people of Chinese descent even for transactions that are permitted, as sellers will

seek to broadly avoid Chinese buyers given the criminal penalties imposed for

selling property in violation of the new law.

      69.    Finally, Florida’s New Alien Land Law is having and will have far-

reaching stigmatizing effects among people of Chinese and Asian descent in

Florida, including Plaintiffs, as Florida law deems them a danger to the United

States. This impact is exactly what laws like the Chinese Exclusion Act of 1882

and the California Alien Land Law of 1913 did more than a hundred years ago.




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      D.      The Federal Government’s Role in Foreign Affairs, Foreign
              Investment, and National Security

      70.     The federal government manages foreign affairs, foreign investment,

and national security in the United States, including through two federal regimes:

(i) the Committee on Foreign Investment in the United States (“CFIUS”), which

has been empowered to review foreign investment transactions, and (ii) the Office

of Foreign Assets Control (“OFAC”) within the U.S. Treasury Department, which

administers and enforces economic regulations and trade sanctions.

                i.   History of CFUIS

      71.     CFIUS was established on May 7, 1975 by President Ford through an

executive order. E.O. 11858, 40 F.R. 20263. Upon its establishment, CFUIS

became the interagency body of the federal executive branch responsible for

overseeing issues of national security with respect to direct foreign investment,

including real estate transactions. CFUIS was directed to, inter alia, monitor trends

and developments in foreign investment in the United States, prepare guidance for

foreign     governments    and   consult     regarding   prospective   major   foreign

governmental investments in the United States, review foreign investments that

could have major implications for the national security interests of the United

States, and consider proposals for new legislation or regulations relating to foreign

investment as necessary.

      72.     Later, Congress enacted the Exon-Florio amendment to the Defense


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Production Act, included in the Omnibus Trade and Competitiveness Act of 1988,

Pub. L. No. 100-418, § 5021, 102 Stat. 1107, 1425–26. It established a mechanism

for the federal executive branch to engage in a retrospective review of foreign

investments. On December 27, 1988, President Reagan then delegated that power

to CFIUS by executive order, empowering it to conduct reviews, undertake

investigations, and make recommendations with respect to foreign investment data

and policies. E.O. 12661, 54 F.R. 779. By 1991, the Department of the Treasury

promulgated federal regulations implementing the Exon-Florio amendment, which

were codified at 31 C.F.R. Part 800.

      73.    The next year, Congress amended the Exon-Florio provision with the

Byrd Amendment to the National Defense Authorization Act for Fiscal Year 1993,

Pub. L. No. 102-484, § 837, 106 Stat. 2315, 2463–65 (1992). The Byrd

Amendment broadened CFIUS’s duties to investigate certain foreign investments,

in particular, those in which the acquirer was controlled or acting on behalf of a

foreign government, and those in which the acquisition would result in the control

of a person engaged in interstate commerce within the United States that could

affect national security.

      74.    Eventually, Congress passed, and President Bush signed, the Foreign

Investment and National Security Act of 2007 (“FINSA”), Pub. L. No. 110-49, 121

Stat. 246, giving Congress further oversight of CFIUS. FINSA also expanded the



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national security prerogatives within CFIUS’s purview and required CFIUS to

engage in even greater scrutiny of foreign direct investments. It also concretized

CFIUS’s position as a permanent federal agency by codifying it and granting it

statutory authority, including certifying to Congress that a transaction that had

been reviewed had no unresolved national security issues and providing Congress

with confidential briefings, as well as annual classified and unclassified reports.

      75.    Most recently, Congress passed the Foreign Investment Risk Review

Modernization Act of 2018 (“FIRRMA”), Pub. L. No. 115-232, §§ 1701–28, 132

Stat. 2174–2207, which President Trump signed into law. The impetus for

FIRRMA was the concern by many members of Congress over Chinese

companies’ growing investment in the United States. In response, Congress

significantly expanded CFIUS’s authority to investigate and review foreign

investments. Most notably, CFIUS was granted jurisdiction to review certain real

estate transactions by foreign persons, specifically, those in close proximity to a

military installation, or to a U.S. government facility or property sensitive to

national security. Congress also empowered CFIUS to review changes in foreign

investor rights regarding U.S. businesses, as well as transactions in which a foreign

government has a direct or indirect substantial interest. FIRRMA further

authorized CFIUS to designate some countries as “countries of special concern”

based on CFIUS’s assessment as to whether that country has demonstrated or



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declared a strategic goal of acquiring a type of critical technology or critical

infrastructure that would affect U.S. national security interests. In that regard,

FIRRMA also formalized CFUIS’s use of risk-based assessments to determine

whether certain transactions pose threats to national security.

              ii.   History of OFAC

      76.    In addition to the CFIUS regime, the U.S. Treasury Department,

through OFAC, is heavily involved with administering and enforcing economic

and trade sanctions in support of U.S. national security and foreign policy

objectives, including those authorized by Congress and the President pursuant to

the International Emergency Economic Powers Act of 1977 (“IEEPA”), Pub. L.

No. 95-223, §§ 201–08, 91 Stat. 1625, 1626–29. The Division of Foreign Assets

Control, OFAC’s immediate predecessor, was established under the Treasury

Department in 1950. OFAC derives its authority from a variety of federal laws

regarding economic sanctions and embargoes, particularly IEEPA.

      77.    One of OFAC’s primary duties is to prevent “prohibited transactions,”

which it defines as “trade or financial transactions and other dealings in which U.S.

persons may not engage unless authorized by OFAC or expressly exempted by

statute.” OFAC administers and enforces economic sanctions programs against

countries, businesses, and groups of individuals, using the blocking of assets and

trade restrictions to accomplish foreign policy and national security goals. It



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maintains and regularly updates several sanction lists identifying countries,

entities, and individuals considered to be threats to national security.

       78.    In sum, the federal government—through statutes, executive orders,

executive agencies, and inherent powers—occupies the fields of foreign affairs,

foreign investment, national security, and the intersection thereof.


                                   COUNT ONE

                   Violation of the Right to Equal Protection
               Under the 14th Amendment and 42 U.S.C. § 1983
              (By All Individual Plaintiffs Against All Defendants)

       79.    Plaintiffs reallege and incorporate by reference the allegations

contained in paragraphs 1 through 69 as though fully set forth herein.

       80.    The Equal Protection Clause of the 14th Amendment to the U.S.

Constitution provides that: “No State shall . . . deny to any person within its

jurisdiction the equal protection of the laws.”

       81.    The Equal Protection Clause protects all persons in the United States,

regardless of their race, ethnicity, color, alienage, or national origin, including

Plaintiffs.

       82.    The Equal Protection Clause prohibits the States from denying any

person equal protection of the laws based on the person’s race, ethnicity, color,

alienage, or national origin. This includes laws that appear neutral on their face but

are motivated by discriminatory intent and result in discriminatory practices or


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disparate treatment due to race, ethnicity, color, alienage, or national origin.

      83.      The new prohibitions on landownership target Plaintiffs, who are

Chinese persons. As described above, the State of Florida appears to classify

Plaintiffs as “foreign principals” from “foreign countries of concern” pursuant to

section 692.201. As such, Plaintiffs are subject to the prohibitions of section

692.202 relating to agricultural lands and section 692.203 relating to real property

on or within ten miles of a military installation or critical infrastructure facility.

      84.      Similarly, the State of Florida appears to classify Plaintiffs as

prohibited “persons” pursuant to section 692.204. As such, Plaintiffs are subject to

the prohibitions of section 692.204 relating to all real property and interests

therein.

      85.      The classifications, prohibitions, penalties, and requirements that

Plaintiffs are subject to under Florida’s New Alien Land Law are based on

Plaintiffs’ race, ethnicity, color, alienage, and national origin.

      86.      Florida’s New Alien Land Law violates the Equal Protection Clause

on the following grounds:

            a. The law was enacted with the purpose and intent to discriminate

               against persons based on race, ethnicity, color, alienage, and national

               origin, in particular, Chinese persons.

            b. The law makes impermissible classifications based on race, ethnicity,



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               color, alienage, and national origin that are not justified by a

               compelling state interest.

            c. The law is not narrowly tailored to meet a compelling state interest.

            d. The law invidiously targets persons based on their race, ethnicity,

               color, alienage, and national origin, particularly Chinese persons,

               resulting in discriminatory practices and disparate treatment.

            e. The law deprives Chinese persons from equal protection of the laws,

               including laws relating to their fundamental rights.

      87.      The enactment and imminent enforcement of the new prohibitions on

landownership embodied by Florida’s New Alien Land Law have caused and will

continue to cause ongoing and irreparable harm to Plaintiffs. Plaintiffs have and

will continue to be discriminated against and subject to disparate treatment based

on their race, ethnicity, color, alienage, and national origin simply because they are

Chinese persons within the meaning of the new law.

      88.      In implementing and enforcing the provisions of the law, Defendants

are acting under color of state law to deprive Plaintiffs and other individuals of

their rights, privileges and immunities granted under the U.S. Constitution and

federal law.




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                                   COUNT TWO

                 Violation of the Right to Procedural Due Process
                Under the 14th Amendment and 42 U.S.C. § 1983
               (By All Individual Plaintiffs Against All Defendants)

         89.   Plaintiffs reallege and incorporate by reference the allegations

contained in paragraphs 1 through 69 as though fully set forth herein.

         90.   The Due Process Clause of the 14th Amendment provides: “No State

shall . . . deprive any person of life, liberty, or property, without due process of

law[.]”

         91.   The protections of the Due Process Clause apply to all persons in the

United States, regardless of their race, ethnicity, color, alienage, and national

origin, including Plaintiffs.

         92.   The Due Process Clause protects the fundamental rights and liberty

interests of all persons in the United States from unreasonable governmental

interference through state action, including that which is arbitrary, irrational,

oppressive, discriminatory, and egregious. This entails the right to procedural due

process, which consists, at a minimum, of fair notice and an opportunity to be

heard.

         93.   The new prohibitions on landownership target the individual

Plaintiffs, who are Chinese persons. As described above, the State of Florida

appears to classify Plaintiffs as “foreign principals” from “foreign countries of



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concern” pursuant to section 692.201. As such, Plaintiffs are subject to the

prohibitions of section 692.202 relating to agricultural lands and section 692.203

relating to real property on or within ten miles of a military installation or critical

infrastructure facility.

       94.      Similarly, the State of Florida appears to classify Plaintiffs as

prohibited “persons” pursuant to section 692.204. As such, Plaintiffs are subject to

the prohibitions of section 692.204 relating to real property and interests therein.

       95.      Florida’s New Alien Land Law violates the Due Process Clause under

the 14th Amendment to the U.S. Constitution on the following grounds:

             a. The law is impermissibly vague, indefinite, and ambiguous because it

                fails to clearly define “critical infrastructure facility,” “military

                installation,” and “domicile,” and therefore fails to provide sufficient

                notice about which properties and persons are subject to its

                classifications, prohibitions, penalties, and requirements.

             b. The law is impermissibly vague, indefinite, and ambiguous because it

                fails to provide sufficient notice as to where the ten-mile and five-mile

                exclusion zones tied to the covered critical infrastructure facilities and

                military installations begin and end.

       96.      The enactment and enforcement of the new prohibitions on

landownership embodied by Florida’s New Alien Land Law have caused and will



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continue to cause ongoing and irreparable harm to Plaintiffs.

      97.      In implementing and enforcing the provisions of the law, Defendants

are acting under color of state law to deprive Plaintiffs and other individuals of

their rights, privileges, and immunities granted under the U.S. Constitution and

federal law.

                                  COUNT THREE

            Violation of the Fair Housing Act, 42 U.S.C. § 3601 et seq.
                    (By All Plaintiffs Against All Defendants)

      98.      Plaintiffs reallege and incorporate by reference the allegations

contained in paragraphs 1 through 69 as though fully set forth herein.

      99.      The Fair Housing Act establishes that “[i]t is the policy of the United

States to provide, within constitutional limitations, for fair housing through the

United States.” 42 U.S.C. § 3601.

      100. The Fair Housing Act applies to all “dwellings,” which are defined as

“any building, structure, or portion thereof which is occupied as, or designed or

intended for occupancy as, a residence by one or more families, and any vacant

land which is offered for sale or lease for the construction or location thereof of

any such building, structure, or portion thereof.” Id. § 3602(b).

      101. The protection of the Fair Housing Act extends to all persons in the

United States, including Plaintiffs. Specifically, the Fair Housing Act defines

“person” as including “one or more individuals, corporations, partnerships,

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associations, labor organizations, legal representatives, mutual companies, joint-

stock companies, trusts, unincorporated organizations, trustees, trustees in cases

under title 11, receivers, and fiduciaries.” Id. § 3602(d).

      102. The Fair Housing Act empowers any person who is aggrieved under

the law to make a claim. Id. § 3613(a). The definition of “aggrieved person”

includes any person who either “claims to have been injured by a discriminatory

housing practice[,] or believes that such person will be injured by a discriminatory

housing practice that is about to occur.” Id. § 3602(i).

      103. Under the Fair Housing Act, 42 U.S.C. § 3604, it is an unlawful

discriminatory housing practice:

             (a) To refuse to sell . . . after the making of a bona fide
             offer, or to refuse to negotiate for the sale . . . of, or
             otherwise make unavailable or deny, a dwelling to any
             person because of race, color, . . . or national origin.

             (b) To discriminate against any person in the terms,
             conditions, or privileges of sale . . . of a dwelling, or in
             the provision of services of facilities in connection
             therewith, because of race, color, . . . or national origin.

             (c) To make, print, or publish, or cause to be made,
             printed, or published any notice, statement, or
             advertisement, with respect to the sale . . . of a dwelling
             that indicates any preference, limitation, or
             discrimination based on race, color, . . . or national
             origin, or an intention to make any such preference,
             limitation, or discrimination.

             (d) To represent to any person because of race, color, . . .
             or national origin that any dwelling is not available for


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              . . . sale . . . when such dwelling is in fact so available.

              (e) For profit, to induce or attempt to induce any person
              to sell . . . any dwelling by representations regarding the
              entry or prospective entry into the neighborhood of a
              person or persons of a particular race, color, . . . or
              national origin.

       104. The Fair Housing Act also makes it “unlawful for any person . . .

whose business includes engaging in residential real estate-related transactions to

discriminate against any person in making available such a transaction, or in the

terms of conditions of such a transaction, because of race, color, . . . or national

origin.” Id. § 3605(a). This provision relating to “residential real estate-related

transaction[s]” includes “[t]he making or purchasing of loans or providing other

financial assistance . . . [and] [t]he selling, brokering, or appraising of residential

real property.”

       105. The new prohibitions on landownership target the individual

Plaintiffs, who are Chinese persons. As described above, the State of Florida

appears to classify Plaintiffs as “foreign principals” from “foreign countries of

concern” pursuant to section 692.201. As such, Plaintiffs are subject to the

prohibitions of section 692.202 relating to agricultural lands and section 692.203

relating to real property on or within ten miles of a military installation or critical

infrastructure facility.

       106. Similarly, the State of Florida appears to classify Plaintiffs as



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prohibited “persons” pursuant to section 692.204. As such, Plaintiffs are subject to

the prohibitions of section 692.204 relating to real property and interests therein.

      107. The classifications, prohibitions, penalties, and requirements that

Plaintiffs are subject to under Florida’s New Alien Land Law are based on

Plaintiffs’ race, color, and national origin.

      108. Due to Florida’s New Alien Land Law, Plaintiff Multi-Choice Realty

is and will be unable to facilitate real estate transactions that would close after July

1, 2023, and that are barred by the law’s discriminatory classifications,

prohibitions, and penalties.

      109. Florida’s New Alien Land Law violates the Fair Housing Act on the

following grounds:

          a. The law establishes a discriminatory housing practice that purports to

             require or permit action that would violate the Fair Housing Act, and

             therefore, is presumptively invalid as a matter of law.

          b. The law discriminates against persons based on their race, color, and

             national origin, particularly Chinese persons, with respect to dwellings

             and residential real estate-related transactions.

          c. The law invidiously targets persons based on their race, color, and

             national    origin,   particularly   Chinese    persons,    resulting     in

             discriminatory practices and disparate treatment with respect to



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            dwellings and residential real estate-related transactions.

      110. The enactment and enforcement of the new prohibitions on

landownership in Florida’s New Alien Land Law have caused and will continue to

cause ongoing and irreparable harm to Plaintiffs. Plaintiffs have and will continue

to be discriminated against and subject to disparate treatment based on their race,

color, and national origin simply because they are Chinese persons within the

meaning of the new law.

                                 COUNT FOUR

          Violation of the Supremacy Clause of the U.S. Constitution
                  Preemption by Federal Regimes Governing
          Foreign Affairs, Foreign Investment, and National Security
                   (By All Plaintiffs Against All Defendants)

      111. Plaintiffs reallege and incorporate by reference the allegations

contained in paragraphs 1 through 78 as though fully set forth herein.

      112. The Supremacy Clause of the U.S. Constitution states: “This

Constitution, and the Laws of the United States which shall be made in Pursuance

thereof; and all Treaties made, or which shall be made, under the Authority of the

United States, shall be the supreme Law of the Land; and the Judges in every State

shall be bound thereby, any Thing in the Constitution of Laws of any State to the

Contrary notwithstanding.” U.S. Const., Art. VI, Para. 2.

      113. The Supremacy Clause establishes the doctrine of federal preemption,

which mandates that federal law preempts state law in any area over which

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Congress has expressly or impliedly reserved exclusive authority or which is

constitutionally reserved to the federal government, or where state law conflicts or

interferes with federal law or objectives.

      114. Pursuant to the Supremacy Clause, Florida’s New Alien Land Law is

preempted by federal regimes governing foreign affairs, foreign investment, and

national security, including CFIUS and OFAC within the U.S. Treasury

Department. Under federal law, CFIUS is authorized, inter alia, to review foreign

investment transactions with respect to national security concerns, as well as to

review real estate transactions by foreign persons, specifically, those pertaining to

properties in close proximity to military installations, U.S. government facilities, or

properties of national security sensitivity. OFAC is responsible for administering

and enforcing economic regulations.

      115. It is unquestionable that foreign relations, the power to deal with

national security threats posed by foreign countries, and foreign commerce are the

exclusive powers of the federal government. Indeed, the U.S. Constitution vests the

federal government the primary powers to manage foreign affairs and to regulate

foreign commerce. See, e.g., U.S. Const., Art. I, Sec. 10, Cl. 1, 3 (foreign affairs);

U.S. Const., Art. I, Sec. 8, Cl. 3 (commerce with foreign nations).

      116. The federal government has long occupied the fields of foreign

affairs, foreign investment, national security, and the intersection thereof,



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especially with respect to foreign relations with China.

      117. All in all, given the comprehensiveness of federal schemes and the

creation of multiple federal agencies to administer the schemes, federal law has

“occupied” the entire field, thus precluding any state regulation even if state law is

nonconflicting.

      118. The State of Florida explicitly stated its intent to regulate in these

areas of foreign affairs and foreign investment, as they bear on national security,

when enacting Florida’s New Alien Land Law. The governor and legislators have

repeatedly emphasized the need to take action “to stand against the United States’

greatest geopolitical threat—the Chinese Communist Party.”8 Accordingly, the law

violates the Supremacy Clause because it regulates a field exclusively occupied by

the federal government, specifically, the intersection between foreign affairs,

national security, and foreign investment, including foreign real estate acquisitions.

In so doing, the new landownership prohibitions usurp the power vested by the

Constitution and by Congress in the federal government to investigate, review, and

take actions with respect to foreign investments, including real estate transactions,

that raise issues of national security.

      119. In addition, the new landownership prohibitions intrude upon the



8
    Press Release, Governor Ron DeSantis Cracks Down on Communist China (May 8, 2023),
https://www.flgov.com/2023/05/08/governor-ron-desantis-cracks-down-on-communist-china/.

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federal government’s power to govern foreign affairs, generally. By characterizing

several countries as “foreign countries of concern,” and by expressly singling out

Chinese people, Florida’s New Alien Land Law unconstitutionally seeks to

establish its own foreign policy, thereby intruding upon the federal government’s

exclusive power to govern foreign affairs. See, e.g., Zschering v. Miller, 389 U.S.

429 (1968).

      120. The new landownership prohibitions also intrude upon the federal

government’s power to govern foreign commerce, generally. By prohibiting

“foreign principals” from specific “foreign countries of concern” from owning and

acquiring land in Florida, the law discriminates against out-of-state individuals and

entities based on race, ethnicity, color, alienage, and national origin, in particular,

Chinese persons. The new law therefore unduly burdens international commerce,

especially with respect to foreign investment.

      121. The enactment and pending enforcement of the new prohibitions on

landownership embodied by Florida’s New Alien Land Law have caused and will

continue to cause Plaintiffs ongoing and irreparable harm.

      122. In implementing and enforcing the provisions of the law, Defendants

are acting under color of state law to deprive Plaintiffs and other individuals of

their rights, privileges, and immunities granted under the U.S. Constitution and

federal law.



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                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request the Court enter judgment in

their favor and:

      A.     Declare Florida’s New Alien Land Law unconstitutional under the

14th Amendment to the U.S. Constitution because it violates Plaintiffs’ rights to

equal protection.

      B.     Declare Florida’s New Alien Land Law unconstitutional under the

14th Amendment to the U.S. Constitution because it violates Plaintiffs’ rights to

procedural due process.

      C.     Declare that Florida’s New Alien Land Law violates Plaintiffs’ rights

under the Fair Housing Act, 42 U.S.C. § 3601 et seq.

      D.     Declare Florida’s New Alien Land Law unconstitutional under the

Supremacy Clause of the U.S. Constitution and preempted by federal law.

      E.     Preliminarily and permanently enjoin Defendants from implementing

and enforcing Florida’s New Alien Land Law against Plaintiffs.

      F.     Award Plaintiffs reasonable attorneys’ fees and their costs of suit.

      G.     Grant any other relief this Court deems just and proper.




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Respectfully submitted this 22nd day of May, 2023,

/s/ Nicholas L.V. Warren

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